 1   SAXENA WHITE P.A.
     David R. Kaplan (SBN 230144)
 2   dkaplan@saxenawhite.com
     12750 High Bluff Drive, Suite 475
 3
     San Diego, CA 92130
 4   Telephone:   (858) 997-0860
     Facsimile:   (858) 369-0096
 5
     Counsel for Plaintiff Plumbers
 6   & Pipefitters Local Union #295 Pension Fund
 7
                               UNITED STATES DISTRICT COURT
 8                           NORTHERN DISTRICT OF CALIFORNIA

 9    PLUMBERS & PIPEFITTERS LOCAL                      Case No.:
      UNION #295 PENSION FUND, Individually
10    and on Behalf of All Others Similarly Situated,
11
                             Plaintiff,                 CLASS ACTION COMPLAINT FOR
12                                                      VIOLATIONS OF THE FEDERAL
            vs.                                         SECURITIES LAWS
13
      CAREDX, INC., REGINALD SEETO,
14    ANKUR DHINGRA, MARCEL KONRAD,                     DEMAND FOR JURY TRIAL
15    and PETER MAAG,

16                           Defendants.

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 1          Plaintiff Plumbers & Pipefitters Local Union #295 Pension Fund (“Plaintiff”), by and

 2   through its attorneys, alleges the following upon information and belief, except as to allegations

 3   concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s information and

 4   belief are based upon, among other things, its counsel’s investigation, which includes, without

 5   limitation: (a) review and analysis of public filings made by CareDx, Inc. (“CareDx” or the

 6   “Company”) with the U.S. Securities and Exchange Commission (the “SEC”); (b) review and

 7   analysis of press releases and other publications disseminated by Defendants (defined below) and

 8   other parties; (c) review of news articles, shareholder communications, conference calls, and

 9   postings on CareDx’s website concerning the Company’s public statements; and (d) review of

10   other publicly available information concerning the Company and the Individual Defendants.

11                                     NATURE OF THE ACTION

12                  This is a federal securities class action on behalf of all persons or entities who

13   purchased CareDx common stock between February 24, 2021, and May 5, 2022, inclusive (the

14   “Class Period”) against CareDx and certain of its officers (collectively “Defendants”) seeking to

15   pursue remedies under the Securities Exchange Act of 1934, 15 U.S.C. § 78a et seq. (the

16   “Exchange Act”).

17                  CareDx is a diagnostics company that provides services and products to the organ

18   transplant recipient community, offering diagnostic testing services, products, and digital
19   healthcare software for transplant patients and care providers. The information gathered through

20   the Company’s surveillance and tests purportedly enables clinicians to make treatment decisions

21   in the event of signs of organ rejection.

22                  During the Class Period, testing services for kidney and heart transplant recipients

23   was by far the Company’s largest segment, representing at least 85% of the Company’s total

24   revenues since the beginning of 2020. The Company’s AlloSure® blood test for transplant

25   recipients was, and is, the Company’s primary source of revenue.

26                  The Company received a higher payment for testing services from Medicare

27   reimbursement than from commercial payers. As a result, the number of tests for which the

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 1   Company was able to get Medicare reimbursement corresponded with the Company’s reporting a

 2   higher average sales price (“ASP”) for testing services. Although the Company did not specifically

 3   report ASPs during the Class Period, investors were able to easily calculate ASP by dividing

 4   testing service revenue by the number or volume of reported tests per financial reporting period.

 5                  Throughout the Class Period, CareDx reported growing revenue and strong demand

 6   in the Company’s testing services segment. On February 24, 2021, the first day of the Class Period,

 7   Defendants reported a 51% year-over-year increase in total revenue, with testing services revenue

 8   increasing from $104.6 million in 2019 to $163.5 million in 2020. Defendants instructed investors

 9   during the Class Period that they “should be focused” on the testing services segment. Defendants

10   presented the testing services segment as the Company’s “growth driver” for which “demand

11   continued unabated.” Moreover, Defendants described the Company’s testing services segment

12   as having “a winning formula” that would allow the Company to capture a massive total

13   addressable market (“TAM”).

14                  Defendants also emphasized to investors the success of the Company’s RemoTraC

15   service – a remote, home-based, blood-drawing service that the Company launched in response to

16   the Covid-19 pandemic – as part of the “winning formula.” Investors were told throughout the

17   Class Period that the RemoTraC service was a massive success that gave the Company the ability

18   to “drive margins” for testing services.
19                  Undisclosed to investors, however, throughout the Class Period, Defendants had

20   engaged in a variety of improper and illegal schemes to inflate testing services revenue, including:

21   (i) pushing protocols for surveillance of organ rejection through inaccurate marketing materials

22   and in violation of Medicare standards; (ii) offering extravagant inducements or kickbacks to

23   physicians and other providers; and (iii) improperly bundling expensive testing services with other

24   blood tests as part of the RemoTraC service. These practices, and others, subjected CareDx to an

25   undisclosed risk of regulatory scrutiny and rendered the Company’s testing services revenue and

26   demand reported throughout the Class Period artificially inflated. As a result, Defendants’ positive

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 1   statements about the Company’s business, operations, and prospects were materially false and/or

 2   misleading and/or lacked a reasonable basis.

 3                  Investors began to learn the truth regarding Defendants’ Class Period

 4   misrepresentations after the financial markets closed on October 28, 2021, when CareDx filed its

 5   quarterly report for the third quarter of 2021 on Form 10-Q with the SEC. Under the heading

 6   “United States Department of Justice and United States Securities and Exchange Commission

 7   Investigation,” Form 10-Q revealed for the first time that CareDx was the subject of at least three

 8   government investigations. Specifically, the Form 10-Q reported (1) the Company had “recently

 9   received” a civil investigative demand (“CID”) from the U.S. Department of Justice (“DOJ”)

10   requesting the Company produce documents in connection with the DOJ’s False Claims Act

11   investigation; (2) the Company received a subpoena from the SEC in relation to an investigation

12   by the SEC “in respect to matters similar to those identified in the CID, as well as certain of our

13   accounting and public reporting practices” and (3) the Company received an information request

14   from an unnamed state regulatory agency (collectively “government investigations”).

15                  In response to the disclosures of the government investigations, the price of CareDx

16   shares declined more than 27% the next trading day, from a closing price of $70.34 per share on

17   October 28, 2021, to a closing price of $51.00 per share on October 29, 2021.

18                  The Company then remained silent on the status of the government investigations
19   for several months. But investors learned more about the extent of the Company’s misconduct

20   and the nature of the government investigations on April 15, 2022, when the Company’s former

21   Head of Community Nephrology, Dr. Michael Olymbios, filed a complaint in California Superior

22   Court 1 that provided extensive detail about: (1) Defendants’ misconduct, including the use of

23   RemoTraC to improperly bundle the Company’s most expensive testing services, including

24   AlloSure, with other blood tests, that led to the government investigations; (2) Defendants’

25   knowledge of the misconduct throughout the Class Period; and (3) their attempts to conceal the

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       See Olymbios v. CareDx, Inc., Case No. 22-civ-01582 (Cal. Super. Ct. San Mateo Cnty.)
28   (hereinafter, the “Olymbios Complaint”).

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 1   misconduct. In response to the revelations in the Olymbios Complaint, the price of CareDx stock

 2   fell an additional 8% to close trading the next trading day, April 18, 2022, at $32.55 per share.

 3                   Investors further learned the impact of Defendants’ misconduct and the resulting

 4   government investigations on CareDx’s business prospects after the markets closed on May 5,

 5   2022. In connection with the announcement of the Company’s results for the first quarter of 2022,

 6   Defendants reported testing service revenue that fell well short of analysts’ expectations and yet

 7   another decline in ASP in which the Company’s average price declined by approximately 4.9%

 8   versus the last quarter of 2021, or what one analyst described as “another big deterioration in price.”

 9                   In response to these disclosures, the price of CareDx stock declined another 18.5%

10   the following trading day, from a closing price of $31.66 per share on May 5, 2022, to a closing

11   price of $25.87 per share on May 6, 2022.

12                   As the market digested the disclosure of Defendants’ misconduct, more than

13   $1 billion in shareholder value was erased.

14                   As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

15   in the market value of the Company’s common stock when the truth was disclosed, Plaintiff and

16   other Class members have suffered significant losses and damages.

17                                    JURISDICTION AND VENUE

18                   The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange
19   Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R.

20   § 240.10b-5).

21                   This Court has jurisdiction over the subject matter of this action pursuant to

22   28 U.S.C. § 1331, Section 27 of the Exchange Act (15 U.S.C. § 78aa).

23                   Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b), Section

24   27 of the Exchange Act (15 U.S.C. § 78aa). Substantial acts in furtherance of the alleged fraud or

25   the effects of the fraud have occurred in this Judicial District. Many of the acts and omissions

26   charged herein, including the dissemination of materially false and misleading information to the

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 1   investing public, and the omission of material information, occurred in substantial part in this

 2   Judicial District, as CareDx is headquartered in this District.

 3                  In connection with the acts, transactions, and conduct alleged herein, Defendants,

 4   directly and indirectly, used the means and instrumentalities of interstate commerce, including the

 5   U.S. Mail, interstate telephone communications, and the facilities of a national securities exchange.

 6                                    DIVISIONAL ASSIGNMENT

 7                  Pursuant to Local Rule 3-2(c) and (d), this action should be assigned to the San

 8   Francisco or Oakland Divisions of this Court, as the Company is headquartered in San Mateo

 9   County, California.

10                                                PARTIES

11                  Plaintiff Plumbers & Pipefitters Local Union #295 Pension Fund provides pension

12   benefits for eligible members and beneficiaries related to construction workers and others in

13   Flagler, Volusia, and Brevard counties in Florida. As of March 31, 2022, Plaintiff managed

14   approximately $54 million in assets on behalf of over 600 members.             As set forth in the

15   accompanying certification, incorporated by reference herein, Plaintiff purchased CareDx

16   common stock during the Class Period and suffered damages as a result of the federal securities

17   law violations and false and/or misleading statements and/or material omissions alleged herein.

18                  Defendant CareDx is incorporated under the laws of Delaware with its principal
19   executive offices located in South San Francisco, California. CareDx’s common stock trades on

20   the Nasdaq Stock Market (the “NASDAQ”) under the ticker symbol “CDNA.”

21                  Defendant Reginald Seeto has served as CareDx’s President since 2018 and CEO

22   and member of CareDx’s Board of Directors (“Board”) since November 2020.

23                  Defendant Ankur Dhingra (“Dhingra”) has served as CareDx’s Chief Financial

24   Officer (“CFO”) since March 2021.

25                  Defendant Marcel Konrad (“Konrad”) was CareDx’s Interim CFO from January

26   2021 to March 2021, and then served as the Senior Vice President of Finance & Accounting until

27   leaving the Company in July 2021.

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 1                   Defendant Peter Maag (“Maag”) was CareDx’s President from 2012 to 2018 and

 2   served as the CEO from 2012 to November 2020 and Chairman of the Board from January 2020

 3   to November 2020. Currently, Maag is the Executive Chairman of the Company’s Board.

 4                   Defendants Seeto, Dhingra, Konrad, and Maag (collectively the “Individual

 5   Defendants”), because of their positions with the Company, possessed the power and authority to

 6   control the contents of the Company’s reports to the SEC, press releases, presentations to securities

 7   analysts, money and portfolio managers, and institutional investors, i.e., the market.           The

 8   Individual Defendants were provided with copies of the Company’s reports and press releases

 9   alleged herein to be misleading prior to, or shortly after, their issuance and had the ability and

10   opportunity to prevent their issuance or cause them to be corrected. Because of their positions and

11   access to material non-public information available to them, the Individual Defendants knew that

12   the adverse facts specified herein had not been disclosed to, and were being concealed from, the

13   public, and that the positive representations that were being made were then materially false and/or

14   misleading. The Individual Defendants are liable for the false statements pleaded herein.

15                   The Company and the Individual Defendants are collectively referred to as the

16   “Defendants.”

17                                  SUBSTANTIVE ALLEGATIONS

18                                              Background
19                   Headquartered in South San Francisco, California, CareDx was founded in 1997

20   and began trading as a public company in July 2014. The Company develops and commercializes

21   diagnostic testing services and products for transplant patients. Specifically, CareDx offers a

22   variety of testing services for transplant patients, including: (1) AlloSure® Kidney, which is a

23   donor-derived cell-free DNA (“dd-cfDNA”) blood test for kidney transplant patients;

24   (2) AlloMap® Heart, which is a gene expression test for heart transplant patients; and

25   (3) AlloSure® Heart, a dd-cfDNA test for heart transplant patients.

26                   CareDx generates and reports revenue in three segments: (1) testing services;

27   (2) products; and (3) patient and digital solutions. In 2021, the testing services segment, which

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 1   provides diagnostic surveillance testing services for solid organ transplant patients, accounted for

 2   87% of the Company’s total revenue.

 3                  Following the commercial launch of AlloSure Kidney in October 2017, the

 4   Company repeatedly touted that AlloSure Kidney “has received positive coverage decisions for

 5   reimbursement from Medicare,” with a reimbursement rate of $2,841. Indeed, the Company

 6   acknowledged that generating testing service revenue was dependent upon, among other things,

 7   the number of tests performed on transplant patients and the establishment of coverage policies by

 8   third-party insurers and government payors, such as Medicare.

 9                  As the Company acknowledged throughout the Class Period, the amount CareDx

10   could charge for testing services varied “from payer to payer,” with the Company receiving its

11   largest payments from Medicare reimbursement. Indeed, Medicare Reimbursement continued to

12   play an outsized role in the Company’s reported revenues and growth leading up to and during the

13   Class Period. For example, on the first day of the Class Period, the Company reported that tests

14   performed on patients covered by Medicare represented 48% of all CareDx tests in 2020, but due

15   to the higher revenues from Medicare reimbursement, testing service revenue derived from

16   Medicare reimbursement accounted for approximately 67% of all CareDx’s testing service revenue

17   in 2020.

18                  Not surprisingly, the Company reported a significant slowdown in testing services
19   volume in the early part of the Covid-19 pandemic. In response, in late March 2020, CareDx

20   launched RemoTraC, a home-based blood draw solution for immune-compromised transplant

21   patients. By early 2022, CareDx reported more than 11,000 kidney, heart, and lung transplant

22   patients had enrolled in RemoTraC.

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                       Defendants’ Materially False and Misleading Statements
24                                 Issued During the Class Period

25                  The Class Period begins on February 24, 2021, when CareDx announced its fourth

26   quarter and full-year 2020 financial results. The press release announcing the results touted

27   “record full-year revenue of $192.2 million, an increase of 51%” from the prior year and that

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 1   testing services revenue for the quarter was $50.3 million, compared to $29.1 million in the same

 2   period of 2019. Defendant Seeto was quoted in the press release, stating, “our record fourth-

 3   quarter result was the culmination of an extraordinary year for CareDx.” CEO Seeto further

 4   remarked, “2020 was transformational for CareDx, because we extended our leadership position

 5   in transplant centers through RemoTraC.” The press release further announced that CareDx

 6   expected revenue to be in the range of $255 million to $265 million for 2021.

 7                  The same day, CareDx filed its Annual Report on Form 10-K with the SEC for the

 8   full year 2020. The report was signed by Defendants Seeto, Maag, and Konrad. Attached to the

 9   report were certifications pursuant to the SOX signed by Defendants Seeto and Konrad attesting

10   to the accuracy of financial reporting, the disclosure of any material changes to the Company’s

11   internal controls over financial reporting, and the disclosure of all fraud. The Company noted in

12   the Form 10-K the risks of non-compliance with relevant laws and regulations that could result but

13   affirmed its belief “that we are currently in compliance with applicable laws and regulations.”

14                  The Form 10-K did not disclose any present violations or improprieties related to

15   the federal False Claims Act, only stating: “Our future activities relating to billing, compliance

16   with certain regulations and Medicare reimbursement requirements, physician and other healthcare

17   provider financial relationships and the sale and marketing of our products may be subject to

18   scrutiny under these laws.”
19                  During the conference call accompanying the release of the fourth quarter and full-

20   year 2020 financial results, CEO Seeto stated, “2020 was an exceptional year for CareDx as

21   demand continued unabated for our innovative first-in-class suite of high-value healthcare

22   solutions for transplant patients and caregivers.”

23                  On March 11, 2021, CareDx announced that Defendant Dhingra had been

24   appointed as the Company’s new CFO and that the appointment would be effective March 25,

25   2021.

26                  On May 5, 2021, the Company released its results for the first quarter of 2021 ended

27   March 31, 2021. The press release announcing these results heralded the “strong start to 2021”

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 1   and that the Company was “raising full-year guidance.” CareDx reported a 76% increase in total

 2   revenue compared to the same quarter of the prior year and testing services revenue of

 3   $59.3 million, compared to $31.4 million in the same period of 2020. The press release further

 4   announced that CareDx had raised its full-year revenue guidance, which the Company now

 5   anticipated to be in the range of $270 million to $280 million for the full year of 2021.

 6                  During a conference call with analysts the same day, CEO Seeto told participants

 7   he was “really excited by the testing services which is growing well above the 50% range.” Asked

 8   by Raymond James analyst Andrew Cooper about gross margins on testing services, CFO Dhingra

 9   assured investors that “on the margin side, we don’t see any structural issues there.” Dhingra

10   further explained the Company’s increased 2021 revenue guidance “reflect[ed] our strong first-

11   quarter results and continued strong demand for our solutions.”

12                  That same day, CareDx filed its Quarterly Report on Form 10-Q with the SEC for

13   the first quarter of 2021. The report was signed by Defendants Seeto and Dhingra and provided

14   the same financial results provided in the first-quarter 2021 press release described above.

15   Attached to the report were certifications pursuant to the SOX signed by Defendants Seeto and

16   Dhingra attesting to the accuracy of financial reporting, the disclosure of any material changes to

17   the Company’s internal controls over financial reporting, and the disclosure of all fraud. The report

18   did not discuss any such issues, changes, or disclosures.
19                  On June 1, 2021, during a Jefferies Healthcare Conference, CEO Seeto trumpeted

20   that in “the kidney space … it’s an absolute winning formula” and emphasized that of the “1,000-

21   plus community nephrology practices, we have more than 100 now using AlloSure as part of that.”

22   As a result, CEO Seeto proclaimed, “there’s just so much opportunity for us, overall testing

23   services TAM.”

24                  The following week, during a June 8, 2021, Goldman Sachs Global Healthcare

25   Conference, CEO Seeto emphasized CareDx’s approach of putting patients first, stating, “I’ve

26   been in a lot of companies that talk about patient first, patient-centricity. And what I can say is

27   CareDx actually lives and believes it, and it[’]s just incredible.”

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 1                  On July 29, 2021, the Company released its financial results for the second quarter

 2   of 2021, which ended June 30, 2021. The press release announcing the results again touted “77%

 3   revenue growth for second-quarter of 2021” and highlighted that the Company “increase[d] full-

 4   year revenue guidance. Again, the Company reported impressive testing services revenues of

 5   $64.9 million, compared with $36.3 million in the same period of 2020. Further, the press release

 6   announced the Company again raised its full-year revenue guidance, which the Company now

 7   projected to be in the range of $280 million to $290 million.

 8                  Also that day, CareDx filed its Quarterly Report on Form 10-Q with the SEC for

 9   the second quarter of 2021. The report was signed by Defendants Seeto and Dhingra and provided

10   the same financial results provided in the second quarter 2021 press release described above.

11   Attached to the report were certifications pursuant to the SOX signed by Defendants Seeto and

12   Dhingra attesting to the accuracy of financial reporting, the disclosure of any material changes to

13   the Company’s internal controls over financial reporting, and the disclosure of all fraud. Again,

14   no such matters were reported.

15                  On a conference call accompanying the Company’s release of its second-quarter

16   2021 financial results, CEO Seeto described the Company’s testing services revenue as “the main

17   driver of growing in the quarter.” Later in the call, CEO Seeto highlighted that the “core to our

18   strategy” was the Company’s efforts at “increasing the number of AlloSure testing protocols.”
19   CFO Dhingra again justified the Company’s yet again increased revenue guidance on the basis of

20   “continued strong demand for our testing services in the United States.” Without ambiguity,

21   Dhingra stated, “we see great demand for our services and continuation of [a] very positive

22   response from patients.”

23                  On September 9, 2021, CEO Seeto participated in the H.C. Wainwright Global

24   Investment Conference. During the conference, CEO Seeto described how the CareDx “financials

25   are very strong. Incredible growth over the prior year greater than 75% … [with] leading gross

26   margins across the industry.” CEO Seeto went on to represent that “Q2 was a very strong quarter

27   for us and it continues the momentum that we built over the last 12 months particularly with the

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 1   onset of Covid.” CEO Seeto singled out RemotraC as a reason for these strong results, stating the

 2   program was an example of “an area where today we have more than 9.000 patients.” Later in the

 3   conference call, CEO Seeto explicitly instructed investors to pay attention to the Company’s

 4   testing services, stating, “And so if you look at the growth drivers and things that you should be

 5   focused on as investors, testing services continued AlloSure penetration. It’s a winning formula

 6   that we have today.”

 7                  The above statements identified in ¶¶ 33 – 46 were materially false and/or

 8   misleading and failed to disclose material adverse facts about the Company’s business, operations,

 9   and prospects, which were known to Defendants or recklessly disregarded by them. Specifically,

10   Defendants mislead investors and/or failed to disclose that: (1) Defendants had engaged in a

11   variety of improper and illegal schemes to inflate testing services revenue and demand, including

12   pushing a surveillance protocol through inaccurate marketing materials, offering extravagant

13   inducements or kickbacks to physicians and other providers, and improperly bundling expensive

14   testing services with other blood tests as part of the RemoTraC service; (2) these practices, and

15   others, subjected CareDx to an undisclosed risk of regulatory scrutiny; (3) these practices rendered

16   the Company’s testing services revenue reported throughout the Class Period artificially inflated;

17   and (4) as a result, Defendants’ positive statements about the Company’s business, operations, and

18   prospects were materially false and misleading and/or lacked a reasonable basis at all relevant

19   times.

20                                      The Truth Comes to Light

21                  On October 28, 2021, the Company released its third-quarter 2021 results for the

22   quarter ended September 30, 2021, and again the Company increased its full-year revenue

23   guidance. The press release announcing the results touted that the Company “grew testing services

24   volume 86% year-over-year.” Importantly, however, the Company also reported that testing

25   services revenue had only increased by 46%.

26                  On a conference call accompanying the Company’s release of the third quarter 2021

27   financial results, Craig-Hallum analyst Alexander Nowak (“Nowak”) asked the participants to

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 1   comment on the lower ASPs for testing service revenue the Company reported during the quarter

 2   and whether Defendants had seen “any changes in Medicare billing practices?” Rather than

 3   disclose the truth, CFO Dhingra falsely replied, “No. No change. We haven’t observed anything

 4   on the Medicare billing practices.”

 5                  Approximately 20 minutes before the conference call that day, the Company filed

 6   its Quarterly Report on Form 10-Q with the SEC for the third quarter of 2021. In this filing, on

 7   page 21, CareDx revealed that it had recently received a CID from the DOJ requesting documents

 8   for a False Claims Act investigation into certain business conduct related to the Company’s kidney

 9   testing and phlebotomy services. In addition, CareDx disclosed that it had received a subpoena

10   from the SEC in connection with a probe into similar matters being investigated by the DOJ and

11   certain accounting and public reporting practices and that another unnamed state regulatory agency

12   had also sent an information request to the Company.

13                  Noting the surprising revelations in the Form 10-Q, analysts at BTIG opined in a

14   report that “[t]he fact that [CareDx] is being investigated by three different entities, both federal

15   and at the state level, is notable. Based on our experience, disclosures of these sort typically bear

16   some degree of merit.”

17                  The following trading day, in response to these revelations, the price of CareDx

18   shares declined $19.34 per share, or more than 27 percent, from a close of $70.34 per share on
19   October 28, 2021, to a close of $51.00 per share on October 29, 2021.

20                  On November 18, 2021, Defendants Seeto and Dhingra participated in the Jefferies

21   London Healthcare Conference. Jefferies analyst Brandon Couillard offered Defendants Seeto and

22   Dhingra the “chance to perhaps comment on the DOJ and SEC investigations.”                   Despite

23   acknowledging the government investigations described in ¶ 50 above, CFO Dhingra continued to

24   hide the extent of Defendants’ misconduct from investors, stating “no questions have been raised

25   about the safety, efficacy, or the quality of our tests themselves.”

26                  The extent of Defendants’ misconduct was further revealed to the market on April

27   15, 2022, when Dr. Michael Olymbios, a medical doctor and the former CareDx Head of

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 1   Community Nephrology, who reported directly to CEO Seeto, filed a complaint in the California

 2   Superior Court for San Mateo County. The Olymbios Complaint detailed how, in June 2020, Dr.

 3   Olymbios became aware that CareDx’s practices raised “serious legal and compliance concerns.”

 4   The Olymbios Complaint also outlined the Company’s knowing use of various forms of clinical

 5   and marketing schemes that lacked clinical support and fell outside the conditional approval for

 6   Medicare reimbursement.

 7                  For example, the Olymbios Complaint stated CareDx engaged in the following

 8   practices: (1) pushing a surveillance protocol for AlloSure through inaccurate marketing materials;

 9   (2) offering extravagant inducements or kickbacks to physicians and other providers to promote

10   AlloSure; (3) representing that CareDx did not bill patients for its tests; (4) organizing clinical

11   studies that were funded with condition free grants; (5) bundling AlloSure with other blood tests

12   as part of RemoTraC to induce physicians to order AlloSure; and (6) offering sham advisory boards

13   to physicians that are little more than captive marketing presentations.

14                  Moreover, the Olymbios Complaint described how Dr. Olymbios raised his

15   concerns about these “unlawful and improper” practices with more than ten current and former

16   CareDx employees, including Defendants Maag and Seeto before October 2020.

17                  The Olymbios Complaint detailed how Defendants took “active measures to avoid

18   creating a paper trail of their misconduct.” Based on his experiences with the Company, Olymbios
19   alleged Defendant Maag “knew of that CareDx’s practices and representations regarding payment

20   for AlloSure, its primary test, were unlawful and that he needed to take steps to avoid written

21   records of CareDx’s unlawful activity.”

22                  Importantly, the Olymbios Complaint made clear the Company retaliated against

23   Dr. Olymbios after he reported “CareDx’s unlawful activity to government agencies,” and that

24   “CareDx realized the existential threat Dr. Olymbios’s reporting presented to the [C]ompany’s

25   continued existence.” (emphasis added).

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     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                                     13
 1                   In response to this news, the following trading day the price of CareDx stock fell

 2   an additional 8%, from a closing price of $35.41 on April 14, 2022, to a closing price of $32.55

 3   per share on April 18, 2022.

 4                   Then, after the markets closed on May 5, 2022, CareDx issued a press release

 5   announcing financial results for the first quarter of 2022, the first full quarter after the Company

 6   disclosed the multiple investigations into its conduct. Significantly, with CareDx’s improper

 7   practices now under regulatory scrutiny, the Company reported a material decline in the ASP of

 8   the Company’s testing services. Indeed, CFO Dhingra was forced to concede the ongoing impact

 9   of Defendants’ misconduct, stating “[t]his aggregate average price declined by about 4.9% versus

10   the last quarter of 2021.” Analyst Nowak pointed out the Company reported “another big

11   deterioration in price this quarter,” and bluntly asked the Company’s executives to explain when

12   “the ASP declines are going to stabilize.”

13                   Following the call, Raymond James analyst Andrew Cooper reported that “the key

14   testing services bucket was nearly $5m shy of our view.” Analyst Nowak reported that the realized

15   price per test dragged down the results in testing services.

16                   In response to this disclosure, on the following trading day, the price of CareDx

17   stock declined another 18.5%, from a closing price of $31.66 on May 5, 2022, to a closing price

18   of $25.87 on May 6, 2022.
19                                  CLASS ACTION ALLEGATIONS

20                   Plaintiff brings this action as a class action pursuant to Rule 23(a) and (b)(3) of the

21   Federal Rules of Civil Procedure on behalf of a class, consisting of all persons and entities that

22   purchased CareDx common stock between February 24, 2021, and May 5, 2022, inclusive, and

23   who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the officers

24   and directors of the Company, at all relevant times, members of their immediate families and their

25   legal representatives, heirs, successors, or assigns, and any entity in which Defendants have or had

26   a controlling interest.

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     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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 1                  The members of the Class are so numerous that joinder of all members is

 2   impracticable. While the exact number of Class members is unknown to Plaintiff at this time and

 3   can only be ascertained through appropriate discovery, Plaintiff believes that there are at least

 4   hundreds or thousands of members in the proposed Class. Throughout the Class Period, CareDx

 5   common stock actively traded on NASDAQ (an open and efficient market) under the symbol

 6   “CDNA.” Millions of CareDx shares were traded publicly during the Class Period on the

 7   NASDAQ. As of May 3, 2022, the Company had more than 53 million shares outstanding. Record

 8   owners and other members of the Class may be identified from records maintained by CareDx or

 9   its transfer agent and may be notified of the pendency of this action by mail, using a form of notice

10   similar to that customarily used in securities class actions

11                  Plaintiff’s claims are typical of the claims of the other members of the Class as all

12   members of the Class were similarly affected by Defendants’ wrongful conduct in violation of

13   federal law that is complained of herein.

14                  Plaintiff will fairly and adequately protect the interests of the members of the Class

15   and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

16   no interests that conflict with those of the Class.

17                  Common questions of law and fact exist as to all members of the Class and

18   predominate over any questions solely affecting individual members of the Class. Among the
19   questions of law and fact common to the Class are:

20                  a.      whether Defendants violated the Exchange Act by the acts and omissions

21   as alleged herein;

22                  b.      whether Defendants knew or recklessly disregarded that their statements

23   and/or omissions were false and misleading;

24                  c.      whether documents, press releases, and other statements disseminated to the

25   investing public and the Company’s shareholders during the Class Period misrepresented material

26   facts about the business, operations, and prospects of CareDx;

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     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                                     15
 1                  d.      whether statements made by Defendants to the investing public during the

 2   Class Period misrepresented and/or omitted to disclose material facts about the business,

 3   operations, and prospects of CareDx;

 4                  e.      whether the market price of CareDx common stock during the Class Period

 5   was artificially inflated due to the material misrepresentations and failures to correct the material

 6   misrepresentations complained of herein; and

 7                  f.      the extent to which the members of the Class have sustained damages and

 8   the proper measure of damages.

 9                  A class action is superior to all other available methods for the fair and efficient

10   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

11   damages suffered by individual Class members may be relatively small, the expense and burden

12   of individual litigation make it impossible for members of the Class to individually redress the

13   wrongs done to them. There will be no difficulty in the management of this suit as a class action.

14                           UNDISCLOSED ADVERSE INFORMATION

15                  The market for CareDx’s common stock was an open, well-developed, and efficient

16   market at all relevant times. As a result of the materially false and/or misleading statements and/or

17   omissions particularized in this Complaint, CareDx’s common stock traded at artificially inflated

18   prices during the Class Period. Plaintiff and the other members of the Class purchased CareDx’s
19   common stock relying upon the integrity of the market price of the Company’s common stock and

20   market information relating to CareDx and have been damaged thereby.

21                  During the Class Period, Defendants materially misled the investing public, thereby

22   inflating the price of CareDx’s common stock, by publicly issuing false and/or misleading

23   statements and/or omitting to disclose material facts necessary to make Defendants’ statements, as

24   set forth herein, not false and/or misleading. The statements and omissions were materially false

25   and/or misleading because they failed to disclose material adverse information and/or

26   misrepresented the truth about CareDx’s business, operations, and prospects as alleged herein.

27   These material misstatements and/or omissions had the cause and effect of creating in the market

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     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                                     16
 1   an unrealistically positive assessment of the Company and its business, thus causing the

 2   Company’s common stock to be overvalued and artificially inflated or maintained at all relevant

 3   times. Defendants’ materially false and/or misleading statements during the Class Period directly

 4   or proximately caused or were a substantial contributing cause of the damages sustained by

 5   Plaintiff and other members of the Class who purchase the Company’s common stock at artificially

 6   inflated prices and were harmed when the truth was revealed.

 7                                     SCIENTER ALLEGATIONS

 8                  As alleged herein, Defendants acted with scienter in that Defendants knew or were

 9   reckless as to whether the public documents and statements issued or disseminated in the name of

10   the Company during the Class Period were materially false and misleading; knew or were reckless

11   as to whether such statements or documents would be issued or disseminated to the investing

12   public, and knowingly and substantially participated or acquiesced in the issuance or dissemination

13   of such statements or documents as primary violations of the federal securities laws.

14                  As set forth herein, the Individual Defendants, by virtue of their receipt of

15   information reflecting the true facts regarding CareDx, their control over, receipt, and/or

16   modification of CareDx’s allegedly materially misleading statements and omissions, and/or their

17   positions with the Company which made them privy to confidential information concerning

18   CareDx, participated in the fraudulent scheme alleged herein.
19                     INAPPLICABILITY OF STATUTORY SAFE HARBOR

20                  The federal statutory safe harbor provided for forward-looking statements under

21   certain circumstances does not apply to any of the allegedly false statements pleaded in this

22   Complaint. The statements alleged to be false and misleading herein all relate to then-existing

23   facts and conditions. In addition, to the extent certain of the statements alleged to be false may be

24   characterized as forward-looking, they were not identified as “forward-looking statements” when

25   made, and there were no meaningful cautionary statements identifying important factors that could

26   cause actual results to differ materially from those in the purportedly forward-looking statements.

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     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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 1                   In the alternative, to the extent that the statutory safe harbor is determined to apply

 2   to any forward-looking statements pleaded herein, Defendants are liable for those false forward-

 3   looking statements because at the time each of those forward-looking statements was made, the

 4   speaker had actual knowledge that the forward-looking statement was materially false or

 5   misleading, and/or the forward-looking statement was authorized or approved by an executive

 6   officer of CareDx who knew that the statement was false when made.

 7                                           LOSS CAUSATION

 8                   Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

 9   the economic loss, i.e., damages, suffered by Plaintiff and the Class.

10                   During the Class Period, as detailed herein, Defendants made materially false and

11   misleading statements and omissions and engaged in a scheme to deceive the market. This

12   artificially inflated the prices of CareDx’s common stock and operated as a fraud or deceit on the

13   Class. When Defendants’ prior misrepresentations, information alleged to have been concealed,

14   fraudulent conduct, and/or the effect thereof were disclosed to the market, the price of CareDx’s

15   stock fell precipitously, as the prior artificial inflation came out of the price.

16
                          APPLICABILITY OF PRESUMPTION OF RELIANCE
17                            (FRAUD-ON-THE-MARKET DOCTRINE)
18                   The market for CareDx stock was open, well-developed, and efficient at all relevant
19   times. As a result of the materially false and/or misleading statements and/or failures to disclose
20   particularized in this Complaint, CareDx common stock traded at artificially inflated and/or
21   maintained prices during the Class Period. Plaintiff and other members of the Class purchased the
22   Company’s common stock relying upon the integrity of the market price of CareDx common stock
23   and market information relating to CareDx and have been damaged thereby.
24                   At all times relevant, the market for CareDx common stock was an efficient market
25   for the following reasons, among others:
26                   a.      CareDx was listed and actively traded on NASDAQ, a highly efficient and
27   automated market;
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     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                                     18
 1                   b.      As a regulated issuer, CareDx filed periodic public reports with the SEC

 2   and/or the NASDAQ;

 3                   c.      CareDx regularly communicated with public investors via established

 4   market communication mechanisms, including through regular dissemination of press releases on

 5   the national circuits of major newswire services and through other wide-ranging public disclosures,

 6   such as communications with the financial press and other similar reporting services; and/or

 7                   d.      CareDx was followed by securities analysts employed by brokerage firms

 8   who wrote reports about the Company, and these reports were distributed to the sales force and

 9   certain customers of their respective brokerage firms. Each of these reports was publicly available

10   and entered the public marketplace.

11                    As a result of the foregoing, the market for CareDx common stock promptly

12   digested current information regarding CareDx from all publicly available sources and reflected

13   such information in CareDx’s stock price. Under these circumstances, all purchasers of CareDx

14   stock during the Class Period suffered similar injury through their purchase of stock at artificially

15   inflated prices, and a presumption of reliance applies.

16                   A Class-wide presumption of reliance is also appropriate in this action under the

17   Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

18   because Class’s claims are, in large part, grounded in Defendants’ material misstatements and/or
19   omissions.    Because this action involves Defendants’ failure to disclose material adverse

20   information regarding the Company’s business, operations, and prospects—information that

21   Defendants were obligated to disclose during the Class Period but did not—positive proof of

22   reliance is not a prerequisite to recovery. All that is necessary is that the facts withheld be material

23   in the sense that a reasonable investor might have considered them important in the making of

24   investment decisions. Given the importance of the Class Period material misstatements and

25   omissions set forth above, that requirement is satisfied here.

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     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                                     19
 1                                 COUNTS AGAINST DEFENDANTS
                                                  COUNT I
 2
           For Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
 3                                Thereunder Against All Defendants
 4                   Plaintiff repeats and realleges each and every allegation contained above as if fully
 5   set forth herein.
 6                   During the Class Period, Defendants carried out a plan, scheme, and course of
 7   conduct that was intended to and, throughout the Class Period, did: (i) deceive the investing public,
 8   including Plaintiff and other Class members, as alleged herein; (ii) artificially inflate and maintain
 9   the market price of CareDx common stock; and (iii) cause Plaintiff and other members of the Class
10   to purchase CareDx stock at artificially inflated prices. In furtherance of this unlawful scheme,
11   plan, and course of conduct, Defendants, and each of them, took the actions set forth herein.
12                   Defendants: (i) employed devices, schemes, and artifices to defraud; (ii) made
13   untrue statements of material fact and/or omitted to state material facts necessary to make the
14   statements not misleading; and (iii) engaged in acts, practices, and a course of conduct that
15   operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to
16   maintain artificially high market prices for CareDx common stock in violation of Section 10(b) of
17   the Exchange Act and Rule 10b-5 promulgated thereunder. All Defendants are sued either as
18   primary participants in the wrongful and illegal conduct charged herein or as controlling persons
19   as alleged below.
20                   Defendants, individually and in concert, directly and indirectly, by the use, means,
21   or instrumentalities of interstate commerce and/or the mails, engaged and participated in a
22   continuous course of conduct to conceal adverse material information about CareDx’s business,
23   operations, and prospects, as specified herein. Defendants employed devices, schemes, and
24   artifices to defraud, while in possession of material adverse non-public information and engaged
25   in acts, practices, and a course of conduct as alleged herein in an effort to assure investors of
26   CareDx’s business, operations, and prospects, which included the making of, or the participation
27   in the making of, untrue statements of material facts and/or omitting to state material facts
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     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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 1   necessary in order to make the statements made about CareDx and its business, operations, and

 2   future prospects in light of the circumstances under which they were made, not misleading, as set

 3   forth more particularly herein, and engaged in transactions, practices, and a course of conduct of

 4   business that operated as a fraud and deceit upon the purchasers of the Company’s common stock

 5   during the Class Period.

 6                  Each of the Individual Defendants’ primary liability and controlling person liability,

 7   arises from the following facts: (i) each of the Individual Defendants was a high-level executive

 8   and/or director at the Company during the Class Period and a member of the Company’s

 9   management team or had control thereof; (ii) each of the Individual Defendants, by virtue of his

10   responsibilities and activities as a senior officer and/or director of the Company, was privy to and

11   participated in the creation, development, and reporting of the Company’s business, operations,

12   and prospects; (iii) each of the Individual Defendants enjoyed significant personal contact and

13   familiarity with the other Defendants and was advised of and had access to, other members of the

14   Company’s management team, internal reports, and other data and information about the

15   Company’s financial condition and performance at all relevant times; and (iv) each of the

16   Individual Defendants was aware of the Company’s dissemination of information to the investing

17   public, which they knew and/or recklessly disregarded was materially false and misleading.

18                  Defendants had actual knowledge of the misrepresentations and/or omissions of
19   material facts set forth herein or acted with reckless disregard for the truth in that they failed to

20   ascertain and to disclose such facts, even though such facts were available to them. Such

21   Defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

22   for the purpose and effect of concealing CareDx’s operating condition, business practices, and

23   prospects from the investing public and supporting the artificially inflated and/or maintained price

24   of its common stock. As demonstrated by Defendants’ overstatements and misstatements of the

25   Company’s business, operations, and prospects throughout the Class Period, Defendants, if they

26   did not have actual knowledge of the misrepresentations and/or omissions alleged, were reckless

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     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                                     21
 1   in failing to obtain such knowledge by deliberately refraining from taking those steps necessary to

 2   discover whether those statements were false or misleading.

 3                   As a result of the dissemination of the materially false and/or misleading

 4   information and/or failure to disclose material facts, as set forth above, the market price of CareDx

 5   common stock was artificially inflated, and relying directly or indirectly on the false and

 6   misleading statements made by Defendants or upon the integrity of the market in which the stock

 7   trades, and/or in the absence of material adverse information that was known or recklessly

 8   disregarded by Defendants, but not disclosed in public statements by Defendants during the Class

 9   Period, Plaintiff and the other members of the Class purchased CareDx common stock during the

10   Class Period at artificially inflated prices and were damaged thereby.

11                   At the time of said misrepresentations and omissions, Plaintiff and other members

12   of the Class were ignorant of their falsity and believed them to be true. Had Plaintiff and the other

13   members of the Class and the marketplace known of the truth regarding the problems that CareDx

14   was experiencing, which were not disclosed by Defendants, Plaintiff and other members of the

15   Class would not have purchased their CareDx common stock, or, if they had purchased such

16   common stock during the Class Period, they would not have done so at the artificially inflated

17   prices that they paid.

18                   By virtue of the foregoing, CareDx and the Individual Defendants each violated
19   § 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

20                   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

21   other members of the Class suffered damages in connection with their purchases of the Company’s

22   common stock during the Class Period.

23
                                                  COUNT II
24
                              For Violations of Section 20(a) of the Exchange Act
25                                    Against the Individual Defendants
26                   Plaintiff repeats and re-alleges each and every allegation contained above as if fully

27   set forth herein.

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     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                                     22
 1                  The Individual Defendants acted as controlling persons of CareDx within the

 2   meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

 3   positions with the Company, participation in, and/or awareness of the Company’s operations, and

 4   intimate knowledge of the false statements filed by the Company with the SEC and disseminated

 5   to the investing public, the Individual Defendants had the power to influence and control and did

 6   influence and control, directly or indirectly, the decision-making of the Company, including the

 7   content and dissemination of the various statements that Plaintiff contends are false and misleading.

 8   Each of the Individual Defendants was provided with or had unlimited access to copies of the

 9   Company’s reports, press releases, public filings, and other statements alleged by Plaintiff to be

10   misleading prior to and/or shortly after these statements were issued and had the ability to prevent

11   the issuance of the statements or cause the statements to be corrected. Further, the Individual

12   Defendants signed the Company’s 2020 and 2021 Annual Reports on Form 10-K and the First,

13   Second, and Third Quarterly Reports for 2021 on Form 10-Q.

14                  In particular, the Individual Defendants had direct and supervisory involvement in

15   the day-to-day operations of the Company and, therefore, had the power to control or influence

16   the particular transactions giving rise to the securities violations as alleged herein, and exercised

17   the same.

18                  As set forth above, CareDx and the Individual Defendants each violated § 10(b)
19   and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their position

20   as controlling persons, the Individual Defendants are liable pursuant to § 20(a) of the Exchange

21   Act. As a direct and proximate result of these Defendants’ wrongful conduct, Plaintiff and other

22   members of the Class suffered damages in connection with their purchases of the Company’s

23   common stock during the Class Period.

24                                       PRAYER FOR RELIEF

25                  WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for relief

26   and judgment as follows:

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     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
                                     23
 1         a)     Declaring this action to be a class action pursuant to Rule 23(a) and (b)(3) of the

 2                Federal Rules of Civil Procedure on behalf of the Class defined herein;

 3         b)     Awarding Plaintiff and the other members of the Class damages in an amount that

 4                may be proven at trial, together with interest thereon;

 5         c)     Awarding Plaintiff and the members of the Class pre-judgment and post-judgment

 6                interest, as well as their reasonable attorneys’ and experts’ witness fees and other

 7                costs; and

 8         d)     Awarding such other relief as this Court deems appropriate.

 9                                         JURY DEMAND

10                Plaintiff demands a trial by jury.

11

12   Dated: May 23, 2022                                Respectfully submitted,
                                                        /s/ David R. Kaplan
13                                                      David R. Kaplan
14
                                                        SAXENA WHITE P.A.
15                                                      David R. Kaplan (SBN 230144)
                                                        12750 High Bluff Drive, Suite 475
16                                                      San Diego, CA 92130
                                                        Telephone: (858) 997-0860
17
                                                        Facsimile: (858) 369-0096
18                                                      dkaplan@saxenawhite.com

19                                                      Counsel for Plaintiff Plumbers & Pipefitters
                                                        Local Union #295 Pension Fund
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